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                 UNITED STATES DISTRICT COURT FOR THE WESTERN
                    DISTRICT OF TENNESSEE MEMPHIS DIVISION


REV. PEARCE EWING, On Behalf of Himself
and All Others Similarly Situated,

        Plaintiff,                                          Docket: 2:22-cv-02136-JTF-atc

        v.

NEWPORT GROUP, INC., SYMETRA
FINANCIAL CORPORATION, REV. DR.
JEROME V. HARRIS, AFRICAN
METHODIST EPISCOPAL CHURCH, AND
JOHN DOES 1-10,

             Defendants.


                 DEFENDANT’S CORPORATE DISCLOSURE STATEMENT


        Pursuant to Federal Rule of Civil Procedure 7.1, Newport Group, Inc. hereby certifies

that it is a private company, and that no publicly-held corporation owns 10% or more of its stock.

        Dated: March 25, 2022.

                                                     Respectfully submitted,

                                                     s/Tannera George Gibson
                                                    Tannera George Gibson (TN #27779)
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                                                   ATTORNEYS FOR DEFENDANT
                                                   NEWPORT GROUP, INC.



                               CERTIFICATE OF SERVICE

        I, Tannera George Gibson, hereby certify that a copy of the foregoing Corporate
Disclosure Statement, filed through the ECF system will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing (NEF) and paper copies shall be
served by first class mail postage prepaid on all counsel who are not served through the CM/ECF
system on March 25, 2022.


                                            /s/ Tannera George Gibson




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